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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

IN RE PORK ANTITRUST                           Case No. 0:18-cv-01776-JRT-HB
LITIGATION



This document relates to:

Commercial and Institutional Indirect
Purchaser Action



              PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                          WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Commercial and

Institutional Indirect Purchaser Plaintiff Gondolier Pizza International, Inc. hereby gives

notice that its claims in the above-captioned action are voluntarily dismissed without

prejudice, with the parties to bear their own costs and expenses. This notice of voluntary

dismissal is made without prejudice to Plaintiff’s rights as an absent class member.
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